

ORDER

PER CURIAM:
AND NOW, this 29th day of April, 2002, upon consideration of the Certificate of Admission of Disability by Attorney that the respondent-attorney is suffering from disability by reason of physical infirmity which makes it impossible for him to prepare an adequate defense to the charges of professional misconduct brought against him in a Petition for Discipline docketed at No. 54 DB 2001 with the Disciplinary Board of the Supreme Court of Pennsylvania, it is hereby
ORDERED that Thomas William Moore, Jr., is immediately transferred to inactive status pursuant to Rule 301(e), Pa.R.D.E., for an indefinite period and until further order of this Court. Respondent shall comply with Rule 217, Pa.R.D.E. All pending disciplinary proceedings against the respondent-attorney shall meanwhile be held in abeyance, except for the perpetuation of testimony.
